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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION


IN RE: FACEBOOK, INC. CONSUMER                   MDL No. 2843
PRIVACY USER PROFILE LITIGATION                  Case No. 18-md-02843-VC


This document relates to:                        PLAINTIFFS’ SUPPLEMENTAL BRIEF
                                                 REGARDING FEES AND COSTS
ALL ACTIONS                                      SOUGHT AS SANCTIONS

                                                 Judge: Hon. Vince Chhabria
                                                 Courtroom: 4, 17th Floor




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COSTS SOUGHT AS SANCTIONS                                             CASE NO. 18-MD-02843-VC
                                     I.         INTRODUCTION
        In response to the Court’s invitation, ECF No. 1073, this brief addresses the

reasonableness of the fees and costs incurred as a result of two categories of misconduct:

misconduct associated with the App Developer Investigation (ADI) and misconduct associated

with the Named Plaintiffs’ data.

        Except for the declaration submitted along with this brief, much of the evidence and

argument supporting Plaintiffs’ fees and costs is already part of the record. This brief, therefore,

will discuss and apply the legal standard of Goodyear Tire & Rubber Co. v. Haeger, 137 S. Ct.

1178 (2017), and gather references to relevant evidence and argument in a single place.

                                          II.    ARGUMENT

A.      Legal standard
        Should the Court sanction Facebook, Gibson Dunn, or both for their misconduct,

Plaintiffs are entitled to fees and costs “incurred because of the misconduct at issue.” Goodyear,

137 S. Ct. at 1186. Such an award is “the sum total of the fees [and costs] that, except for the

misbehavior, would not have accrued.” Id. at 1187.

        A district court “has broad discretion to calculate fee awards under that standard.” Id. at

1184. In assessing an award, courts “need not, and indeed should not, become green-eyeshade

accountants.” Id. at 1187 (quoting Fox v. Vice, 563 U.S. 826, 838 (2011)). “‘The essential goal’
. . . is ‘to do rough justice, not to achieve auditing perfection.’” Id. (quoting Fox, 563 U.S. at

838). “Accordingly, a district court ‘may take into account [its] overall sense of a suit, and may

use estimates in calculating and allocating an attorney’s time.’” Id. (quoting Fox, 563 U.S. at

838). Thus, a court has the discretion to “decide . . . that all (or a set percentage) of a particular

category of expenses . . . were incurred solely because of” the misconduct. Id.

        “[F]or guidance on the reasonableness of fees,” courts assessing sanctions look “to the

lodestar amount, which is presumptively reasonable.” In re Personalweb Techs., LLC Pat. Litig.,

No. 18-md-02834-BLF, 2021 WL 796356, at *5 (N.D. Cal. Mar. 2, 2021) (citations omitted)
(applying Goodyear to patent infringement litigation fees under 35 U.S.C. § 285). “The rates

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prevailing in [this] district for ‘similar services by lawyers of reasonably comparable skill,

experience, and reputation’ . . . furnish the proper measure” of reasonable hourly rates; this

comparison “extends to all attorneys in the relevant community engaged in ‘equally complex

Federal litigation.’” Prison Legal News v. Schwarzenegger, 608 F.3d 446, 455 (9th Cir. 2010)

(quoting Blum v. Stenson, 465 U.S. 886, 893, 895 n.11 (1984)); see also Harper v. Nevada Prop.

1, LLC, 552 F.Supp.3d 1033, 1053 (D. Nev. 2021) (citing Ingram v. Oroudjian, 647 F.3d 925,

928 (9th Cir. 2011)) (“The Court may also rely on its own familiarity with the rates in the

community to analyze those sought in the pending case.”).

B.      Plaintiffs’ process of reviewing records and substantiating hours
        As noted above, this Court has broad discretion in determining the reasonableness of the

hours claimed, discretion that extends to “us[ing] estimates in calculating and allocating an

attorney’s time.” Fox, 563 U.S. at 838. Here, in accordance with the Court’s instructions,

Plaintiffs have substantiated the number of hours claimed with billing records. Plaintiffs have

also furnished a detailed explanation of how they collected and reviewed billing records to

ensure that those records are informative for the Court and accurately reflect hours spent because

of the misconduct. J. Decl. of Derek W. Loeser and Lesley E. Weaver Regarding Fees and Costs

Incurred Due to Sanctionable Misconduct (“Accompanying Decl.”) ¶¶ 4–20; see Bruner v. City

of Phoenix, No. CV-18-00664-PHX-DJH, 2020 WL 554387, at *11 (D. Ariz. Feb. 4, 2020)

(crediting attorneys’ declaration “that the billing entries have been ‘edited based on [their] billing
judgment to eliminate any unnecessary, administrative, duplicative and excessive time

entries.’”).

        Facebook’s misconduct delayed this case considerably, but delay itself is imperfectly

correlated with increased hours spent. To show that the time they seek is compensable, Plaintiffs

have therefore not relied on delay. Rather, the records Plaintiffs are submitting have been

carefully reviewed to ensure they comply with the but-for standard of Goodyear. Put differently,

Plaintiffs have made every effort to ensure that the billed time resulted specifically from the
relevant discovery misconduct, rather than from discovery more generally or from delays that


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were not associated solely with the relevant discovery misconduct. Accompanying Decl. ¶ 5.

Thus, the records Plaintiffs are submitting represent only a portion of the time Plaintiffs spent on

discovery related to ADI and the Named Plaintiffs’ data. For example, Plaintiffs have not sought

compensation for reviewing ADI and Named Plaintiff documents produced by Facebook, nor

any other work that Plaintiffs believe would have been necessary in the absence of misconduct.

Id. ¶¶ 5, 7 & n.1.

          The fees and costs identified in this submission are a small fraction of Plaintiffs’ total

fees and costs in this case. Id. ¶ 5. To be clear, Plaintiffs believe that the general approach that

Facebook and Gibson Dunn took to this litigation greatly delayed progress and increased fees
and costs well beyond what is sought in this submission. The fees and costs sought here,

however, are limited to what would not have been incurred absent the two categories of

sanctionable misconduct that the Court identified in its order.

C.        Misconduct associated with the ADI
          The fees incurred because of Facebook’s ADI-related misconduct fall into three periods.

          1. April 7, 2021 to September 8, 2021
          At an April 6, 2021 hearing, Judge Corley told the parties that, as she saw it, privilege for

the ADI turned on the dual-purpose doctrine. Under this doctrine, the work-product privilege

does not shield documents generated by an investigation that would have been done in

substantially the same form even without anticipated litigation. Judge Corley was certain that
“the [ADI] was done in anticipation of litigation,” but, given Facebook’s public statements about

the ADI, she could not “conceive of how it wouldn’t have been done otherwise.” ECF No. 928-4,

Ex. 5 to the Joint Declaration in Supp. of Pls.’ Mot. for Sanctions, at 16:9–12.1 While she said

she was prepared to rule on the privilege motion, she agreed to give Facebook an opportunity to

present more evidence. See id. at 22:6–23, 23:18–19. After allowing attorney Snyder to speak at

length, however, she cautioned Facebook not to “forget what the test is”: “would the

1
    Unless otherwise noted, citations of exhibits are to the exhibits attached to ECF No. 873-5, the
    Joint Declaration of Derek W. Loeser and Lesley E. Weaver in Support of Plaintiffs’ Motion
    for Sanctions.
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investigation have occurred anyway[?]” Id. at 24:15–17. At the hearing, she deemed it “just

inconceivable” that it would not have occurred anyway. Id. at 24:21.

        After this April 6, 2021 hearing, then, Facebook knew what Judge Corley believed the

dispositive issue to be, and that it was “inconceivable” that she would rule in Facebook’s favor if

Facebook did not address the dual-purpose doctrine. But Facebook did not address the doctrine

in the Southwell Declaration it finally submitted in August 2021, see ECF No. 736 at 6, and it

did not appeal Judge Corley’s ruling in September. Facebook acted in bad faith in causing the

delay that began on April 7, 2021, the day after the hearing before Judge Corley, and ended on

September 8, the day Judge Corley ruled on privilege. See ECF No. 1050-1, Pls.’ Corr. Mot. for
Sanctions, at 15–17; ECF No. 1050-2, Pls.’ Reply in Supp. of Mot. for Sanctions, at 7–9. The

hours that Plaintiffs were forced to spend on the ADI dispute during that period were caused by

Facebook’s misconduct, would not have been spent otherwise, and are compensable.

        2. September 9, 2021 to January 31, 2022
        In her ADI privilege ruling, Judge Corley directed the parties “to work with the Special

Master regarding production of additional materials consistent with the guidance offered by this

Order.” ECF No. 736 at 7. As Plaintiffs have detailed elsewhere, Facebook disobeyed this

directive, delayed matters unnecessarily, and raised arguments it knew were frivolous. See ECF

No. 1050-1 at 18–24; ECF No. 1050-2 at 3–7. It was this bad-faith misconduct that forced

Plaintiffs to spend time on the ADI dispute from September 9, 2021, the day after Judge Corley’s
ruling, until January 31, 2022, when the Special Master issued his final order on the ADI. That

time is fully compensable.

        3. After February 1, 2022
        After February 1, 2022, Plaintiffs incurred fees associated with Facebook’s inadequate

search for ADI documents, a search that violated the Special Master’s order and was not

disclosed for several months. See ECF No. 1050-3, Pls.’ Corr. Suppl. Br. in Supp. of Sanctions,

at 5–7. Because of this misconduct, Plaintiffs incurred fees they would not have otherwise
incurred (e.g., meeting and conferring at length with opposing counsel, informing the Court of


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the issue).

D.       Misconduct associated with the Named Plaintiffs’ data
         There are two periods during which Plaintiffs incurred fees because of the misconduct

associated with the Named Plaintiffs’ data.

         1. November 28, 2020 to January 31, 2022
         On October 29, 2020, Judge Corley issued an order delineating the scope of discoverable

user data.2 ECF No. 557. As Plaintiffs have explained elsewhere, Facebook violated Judge

Corley’s order and did so in bad faith. See ECF No. 1050-1 at 30–32; ECF No. 1050-2 at 14–17.

This bad-faith misconduct required Plaintiffs to incur fees in fruitless attempts at obtaining
further discovery. See, e.g., ECF No. 928-21, Ex. 30 at 17–18; ECF No. 906-8, Ex. 32 at 6; ECF

No. 906-10, Ex. 33 at internal exhibits 15, 16; ECF No. 906-18, Ex. 60 at 1. This stonewalling

culminated in motion practice and an order from the Special Master—which Facebook then

unsuccessfully appealed—confirming that Judge Corley had meant what she said. See ECF No.

1050-1 at 32–34. The work associated with that motion practice and appeal was necessary only

because of Facebook’s bad-faith misconduct.

         2. After February 1, 2022 to November 16, 2022
         After February 1, 2022, Plaintiffs continued to incur fees as a result of Facebook’s

misrepresentations about and delayed search for Named Plaintiffs’ data. Facebook persisted in

asserting that only Named Plaintiffs’ data that was shared with third parties was discoverable,
despite the orders referenced above. Further, it insisted that the Download Your Information files

contained all of the Named Plaintiffs’ data, only to disclose for the first time in June and July

2022 that it had preserved data from 137 Hive tables pursuant to a litigation hold in this matter

and that it had another source of Named Plaintiffs’ data that used a tool called Switchboard that

had more information that were not included in the Download Your Information files. See ECF


2
    The sanctions period begins on November 28, 2020 to give Facebook a “grace period” of 30
    days from Judge Corley’s order. To put it differently, the sanctions period assumes that if
    Facebook had not engaged in misconduct, compliance with Judge Corley’s order would have
    begun 30 days thereafter. This assumption is generous to Facebook.
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No. 1050-3 at 12–16. As a result of Facebook’s bad-faith failure to disclose this information,

Plaintiffs incurred fees they would not otherwise have incurred, such as preparing submissions

for and participating in highly technical hearings conducted by the Special Master concerning the

sources of information Facebook should search for Named Plaintiffs’ data and the burdens

associated with such searches.

E.      Fees incurred in seeking sanctions
        Plaintiffs incurred fees associated with seeking sanctions (e.g., gathering evidence,

preparing briefs, participating in the hearing). Seeking sanctions was an enormous undertaking

due to the duration and complexity of discovery and the extent of Facebook’s misconduct. See
generally Accompanying Decl. ¶¶ 46–53. To argue for sanctions, Plaintiffs submitted three

briefs comprising 110 pages. In support of those briefs, they filed three detailed declarations by

co-lead counsel, to which were attached a total of 142 exhibits.

        Under the inherent power, 28 U.S.C. § 1927, and Rule 37(b), time spent seeking

sanctions is compensable, since that time would not have been spent but for the misconduct. See,

e.g., Blixseth v. Yellowstone Mountain Club, LLC, 854 F.3d 626, 631 (9th Cir. 2017) (“fees-on-

fees” compensable under § 1927); Harper, 552 F.Supp.3d at 1047 (same, with respect to inherent

authority); Sanchez Y Martin, S.A. de C.V. v. Dos Amigos, Inc., No. 17cv1943-LAB-LL, 2019

WL 3769191, at *10 n.11 (S.D. Cal. Aug. 9, 2019) (same, with respect to Rule 37(b)).

        While Plaintiffs sought sanctions for several different categories of misconduct,
Plaintiffs, in the present submission, have endeavored to include only time spent seeking

sanctions for misconduct arising from the ADI and the Named Plaintiffs’ data. See

Accompanying Decl. ¶¶ 54–55.

        Plaintiffs also incurred fees in preparing this brief and the accompanying declaration.

They have been careful not to seek fees for any work that duplicated what was already done in

connection with the earlier sanctions briefing. Id. ¶ 56.

F.      Costs incurred because of misconduct
        Facebook’s discovery misconduct caused Plaintiffs to incur substantial expenses for


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Judge Gail Andler’s services as discovery mediator, and for Daniel Garrie’s services both as

discovery mediator and Special Master. In March 2021, when Judge Corley suggested that the

parties retain a discovery mediator, the disputes related to ADI and the Named Plaintiffs’ data

were two of the (if not the two) most significant unresolved discovery disputes. Accompanying

Decl. ¶¶ 60, 62. This remained the case when Plaintiffs pressed for a Special Master in June

2021, and the Court appointed one the next month. Id. ¶¶ 61, 63. It is more likely than not,

therefore, that the parties would not have retained the discovery mediators, and the Court would

not have appointed the Special Master, without the misconduct associated with the ADI and the

Named Plaintiffs’ data.
        In the present submission, however, Plaintiffs have separated out those JAMS costs

immediately related to the ADI and Named Plaintiffs’ data disputes—the disputes that resulted

from Facebook’s misconduct, for which the Court has requested Plaintiffs’ fees and costs. See id.

Exs. 10, 11. Plaintiffs’ careful process of collecting, reviewing, and selecting relevant JAMS

costs is described in detail in the accompanying declaration. Id. ¶¶ 64–76.

                                      III.   CONCLUSION
        For the reasons given above, Plaintiffs respectfully request that the Court, as sanctions for

Facebook’s and Gibson Dunn’s misconduct associated with the ADI and the Named Plaintiffs’

data, order that a total of $2,049,137.28 in fees and costs be paid, representing $435,803.00 in

fees incurred due to misconduct associated with the ADI; $655,160.00 in fees incurred due to
misconduct associated with the Named Plaintiffs’ data; $693,676.50 in fees incurred in seeking

sanctions for those two categories of misconduct; and $264,497.78 in costs incurred due to those

two categories of misconduct.




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Dated: November 18, 2022                               Respectfully submitted,


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                                  CERTIFICATE OF SERVICE
          I, Sarah Skaggs, hereby certify that on November 18, 2022, I electronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

record.

                                               /s/ Sarah Skaggs
                                               Sarah Skaggs

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4871-9723-6481, v. 8
4886-7590-6367, v. 3




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